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                     IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF ARIZONA

In re:                                          )     In Proceedings Under Chapter 7
                                                )
CLARA A. QUARTERMAN,                            )
                                                )     Case No. 2:11-bk-07867 SSC
                              Debtor.           )
                                                )
                                                )
RONALD J. QUARTERMAN,                           )     Adversary No. 2:11-ap-01154 SSC
                                                )
                      Plaintiff,                )
vs.                                             )
                                                )       ANSWER TO COUNTERCLAIM
CLARA A. QUARTERMAN,                            )
                                                )
                      Defendant.                )
                                                )
                                                )
CLARA QUARTERMAN,                               )
                                                )
               Counter-Plaintiff,               )
                                                )
v.                                              )
                                                )
                                                )
RONALD J. QUARTERMAN,                           )
                                                )
               Counter-Defendant.               )
                                                )


         Counter-Defendant, Ronald J. Quarterman, admits, denies, and alleges, through

his attorney James F. Kahn, Esq. as follows:

         1. In response to Paragraph 12, admits the filing of the bankruptcy; denies that

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Counter-Defendant was immediately noticed.

        2. In response to Paragraph 13, asserts that the statute speaks best for itself;

denies any allegations inconsistent with the statute.

        3. In response to Paragraph 14, admits the Debtor Exam was held; denies that

notice of the bankruptcy was given to Counter-Defendant.

        4. Admits the allegations contained in Paragraph 15.

        5. Denies the allegations contained in Paragraph 16.

        6. In response to Paragraph 17, asserts that the statute speaks best for itself and

denies any allegations inconsistent with the statute; denies that Counter-Plaintiff has

incurred damages.

                                AFFIRMATIVE DEFENSES

        1. Counter-Plaintiff has failed to mitigate her damages, if any.

        2. Certain additional affirmative defenses may be available to Counter-Defendant

which are currently unknown. Counter-Defendant therefore pleads as if set forth in full

hereafter all of the defenses or matter of avoidance set forth in Rule 8 F.R. Civ. P., as

well as any other affirmative defenses or matters of avoidance which become known to

Counter-Defendant as discovery progresses. The Counter-Defendant reserves its right

to amend the answer as such defenses become known.

        WHEREFORE, Counter-Defendant prays that Counter-Plaintiff take nothing by

her Counterclaim.

                 DATED this 11th day of August, 2011.

                                                  JAMES F. KAHN, P.C.

                                                  /s/James F. Kahn, SBN003063
                                                  James F. Kahn
                                                  Attorney for Plaintiff/Counter-Defendant

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A copy of the foregoing was mailed
this 11th day of August, 2011, to:

Lawrence B. Slater, Esq.
Lawrence B. Slater, PLLC
16444 East Pecos Road
Gilbert, AZ 85295
Attorney for Defendant/Counter-Plaintiff


/s/Christina E. Anglin
Christina E. Anglin




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